       Case 5:17-cv-00577-ODW-FFM Document 15 Filed 06/19/17 Page 1 of 1 Page ID #:49
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA                                        JS-6

                                     CIVIL MINUTES – GENERAL
    No.           ED CV 17-00577-ODW (FFM)                                   Date   June 19, 2017
    Title         Quilesha Hodges v. GEICO



    Present: The Honorable        Otis D. Wright, II, United States District Judge
                 Sheila English                               Not reported                             N/A
                 Deputy Clerk                         Court Reporter / Recorder                      Tape No.
            Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                      Not present                                              Not present
    Proceedings:                                 In Chambers


       In light of the parties’ notice of settlement (ECF No. 14), the Court DISMISSES this
action without prejudice. The pending motion for default judgment (ECF No. 13) is DENIED
AS MOOT. On or before August 21, 2017, any settling party may move to enforce the
settlement, apply to reopen the action, or stipulate to extend the deadline in which to file such a
motion or application.1 If the settling parties do not file any such motion, application, or
stipulation on or before that date, the settling parties will be deemed to have stipulated to a
dismissal of this action with prejudice. Fed. R. Civ. P. 41.

            The Clerk of the Court shall close the case.



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                                                      Initials of Preparer   SE




1
  The Court expressly retains jurisdiction over this action to adjudicate any such or other filings made during
this time.


CV-90 (06/04)                                CIVIL MINUTES - GENERAL                                     Page 1 of 1
